Case 3:07-cr-00001-NKM Document 105 Filed 01/12/16 Page 1 of 2 Pageid#: 383




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                   CHARLOTTESVILLE DIVISION



 UNITED STATES OF AMERICA                            CASE NO. 3:07-cr-00001-1


                       v.                            ORDER


 KEVIN ALFRED STROM                                  JUDGE NORMAN K. MOON
                                    Defendant.


       Defendant has written a letter requesting that I appoint him counsel (docket no. 104) so

that he may be assisted in petitioning the Court to modify the term of his supervised release. I

will construe Defendant’s letter as a pro se motion to appoint counsel.

       It is well established that “a criminal defendant has no right to counsel beyond his first

appeal.” Coleman v. Thompson, 501 U.S. 722, 756 (1991); see also United States v. Legree, 205

F.3d 724, 730 (4th Cir. 2000) (“[A]s a general matter . . . there is no right to . . . assistance of

counsel on a motion for reduction of sentence.”). While Federal Rule of Criminal Procedure

32.1(c)(1) does provide that, “before modifying the conditions of . . . supervised release, the

court must hold a hearing, at which the person has the right to counsel,” the rule’s assurance of

counsel applies only where the Court holds a supervised release termination hearing. See Fed. R.

Crim. P. 31.2(c)(1); see also United States v. Nonahal, 338 F.3d 668, 671 (7th Cir. 2003) (Rule

32.1(c) does “not compel the court to hold a hearing before refusing a request for

modification.”).

       Because I have not decided at this time to modify Defendant’s supervised release, and

because no hearing regarding a modification of Defendant’s supervised release is scheduled,

Defendant’s motion to appoint counsel is DENIED.

                                                 1
Case 3:07-cr-00001-NKM Document 105 Filed 01/12/16 Page 2 of 2 Pageid#: 384




       It is so ORDERED.

       The Clerk of the Court is hereby directed to send a certified copy of this order to

Defendant and all counsel of record.

                    12th day of January, 2016.
       Entered this _____




                                             2
